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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN



UNITED STATES OF AMERICA,

                            Plaintiff,
                                                              ORDER

       v.                                                     10-cr-38-wmc1

JAKE BARTTELT and
DANIEL L. BOHMAN,

                            Defendants.



       Defendants Jake Barttelt and Daniel L. Bohman were charged in a multiple count

indictment of various crimes arising out of the manufacture of methamphetamine. Count

5 of the indictment is based on evidence obtained by law enforcement agents after a night

traffic stop on August 18, 2009, in rural Lincoln County. Both defendants moved to

suppress the evidence obtained as a result of the stop.2

       On May 13, 2010, United States Magistrate Judge Stephen Crocker held an

evidentiary hearing on these motions. In a report and recommendation entered on July 12,

2010, Magistrate Judge Crocker provided a detailed summary of the facts and recommended

this court deny the motions, finding that the law enforcement officers had reasonable

suspicion for the stop based on information provided by a confidential informant or,


       1
          This case was reassigned to Judge William Conley pursuant to a March 31, 2010
administrative order.

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         Both defendants pled guilty to Count 5 conditioned on the government dismissing
all other counts and preserving their right to appeal from any denial of their suppression
motion.
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alternatively, that it was a consensual stop. The magistrate judge also found that even if the

officers should not have stopped the car, exclusion of evidence derived from the stop is

unwarranted because any error was the product of negligence, not of deliberate indifference

to defendants’ rights.

       Bohman objects to Magistrate Judge Crocker’s factual findings concerning the stop

and the reliability of the informant, as well as to his legal conclusion that there was a

consensual encounter. Barttelt does not object to the magistrate judge’s factual findings

concerning the traffic stop, but objects to his findings concerning the reliability of the

informant. Barttelt also objects to the magistrate judges’ reliance on intangible factors, as

well as his legal conclusions that (1) there was reasonable suspicion to stop the car, (2) the

search was consensual and (3) the evidence should not be suppressed.

       Pursuant to 28 U.S.C. § 636(b)(1)(C), the court reviews the magistrate judge’s report

and recommendation de novo as to those portions to which objection is made. Because the

officers had a good faith belief that they had a reasonable suspicion to stop the car, the court

will adopt Magistrate Judge Crocker’s Report and Recommendation, except as specifically

noted below, and on that basis deny defendants’ motions to suppress.




                                           FACTS

       The Report and Recommendation contains a detailed summary of the facts relevant

to defendants’ motions. The following facts provide a brief overview, noting those limited

findings disputed by defendants.



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       On August 18, 2009, Lieutenant Gary Schneck of the Marathon County Special

Investigations Unit asked Sergeant Brian Kingsley, a Lincoln County Sheriff’s investigator,

to visit the Marathon County Sheriff’s Department to talk to an informant, Ed Olmsted,

who claimed to have information about drug activity in Lincoln County. Schneck, in

somewhat terse fashion, told Kingsley that he had received information from Olmsted in the

past.3 (Mot. Hr’g Tr., dkt. #51, at 53:7-14.) Kingsley, having worked with and relied on

Schneck before, credited his endorsement of Olmsted.

       Kingsley talked to Olmsted, who was under arrest and charged with unlawful

possession of drug paraphernalia, including an anhydrous tank. Olmsted told Kingsley that

he was involved in methamphetamine cooking and that three times in the past two months

he had been present when Jake Barttelt was cooking meth at a hunting cabin on “Big Tony’s”

property off Hagar City Road in Lincoln County. Olmsted showed Kingsley where the

property was by pointing in a plat book to property owned by Tony Thorenson. Olmsted

also reported that (1) he had seen a tank of anhydrous ammonia at the cabin within the last

week or so, (2) there was a locked cable blocking the drive leading to the cabin from Savaske

Road, and (3) Barttelt was driving a green Grand Marquis.           Based on his experience,

Kingsley concluded that evidence of methamphetamine manufacturing would be found at



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         Defendant Barttelt objects to the fact in the Report and Recommendation that Schneck
told Kingsley that he had received information from Olmsted on more than one previous
occasion. (Def.’s Br., dkt. #69, at 1.) The record does not list the number of times Schneck had
previously received information from Olmsted, but merely states that Schneck “had information
from Ed in the past” (Mot. Hr’g Tr., dkt. #51, at 53:12-13). This vague statement could refer
to either one previous occasion or more than one occasion. Either way, for purposes of deciding
defendants’ motions, the court assumes that there was only one previous occasion.

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the cabin.

       Kingsley and Lincoln County Sheriff’s Investigator Andy VanderWyst drove to

Thorenson’s property to begin immediate surveillance. They saw a cable blocking the drive

leading to a hunting cabin about 300 yards away. At some point, Kingsley inadvertently

beeped his car horn. Within 20 seconds, car lights came on up near the cabin. A car from

the property pulled up to the cable and then backed up. Within about four or five minutes,

a car drove from the cabin area to the cable, stopped and someone got out to remove the

cable. The car, a reddish or maroon Berretta, then pulled out Eastbound in the direction of

where Kinglsey happened to be parked.

       As the car approached, Kingsley activated the blue and red emergency lights on his

car and drove toward the Berretta causing it to stop. Kingsley stopped about ten feet in

front of the Berretta leaving his headlights on. Kingsley recognized the driver as Dan

Bohman, with whom he had had professional contact on numerous occasions, but he did not

recognize the passenger.

       Kingsley and VanderWyst, who were in plain clothes and not brandishing firearms,

identified themselves and directed both men to step out of the car. The passenger, who was

wearing shorts, no shirt and tennis shoes, identified himself as Jake Barttelt. After briefly

questioning them, Kingsley smelled anhydrous ammonia. When asked what he was doing

in the woods that night Barttelt told Kingsley he had been bear hunting. Kingsley deemed

this unbelievable given Barttelt’s clothing and the time of night.

       Up to this point, neither investigator had told either occupant of the car that he was



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a suspect in a drug investigation. After Kingsley concluded, based on the smell and Barttelt’s

answers to questions, that they had uncovered an active methamphetamine cooking

operation, Bohman and Barttelt were taken into custody. (Id., dkt. #51, at 41:11-42:15.)




                                         OPINION

       Both Barttelt and Bohman object to the magistrate judge’s finding that the challenged

evidence should not be excluded. The magistrate judge concluded that (1) the officers either

conducted a permissible, consensual police-citizen questioning of defendants or a proper

investigatory stop of the car to ask questions; and (2) even if these determinations were

wrong, the officers’ conduct was sufficiently justified and the actual intrusion on the

defendants’ right so minimal that suppression would be too extreme a sanction under the

circumstances. This court agrees with that ultimate conclusion.

       The Fourth Amendment protects citizens from “unreasonable searches and seizures.”

Further, the purpose of the Fourth Amendment is “to strike a balance between the interest

of the individual in being left alone by the police and the interest of the community in being

free from the menace of crime.” United States v. Burton, 441 F.3d 509, 511-12 (7th Cir.

2006) (internal quotation omitted). The Seventh Circuit has explained that “the less

protracted and intrusive a search is, the less suspicion the police need in order to be

authorized by the Fourth Amendment to conduct it, and vice versa.” Id. at 511. While

categories, such as consensual encounters and investigatory stops, are used in analyzing

alleged Fourth Amendment violations, the analysis is really more about determining where



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on a continuum an encounter falls. Id. at 512. In other words, the specific circumstances

of each encounter should be measured to determine the level of suspicion necessary to be

reasonable.

       Beginning with the argument that this was a purely consensual encounter until the

arrests took place, Magistrate Judge Crocker likened the encounter between defendants and

the officers to that of airport or train station encounters between narcotics officers and

travelers. See United States v. Tyler, 512 F. 3d 405, 410 (7th Cir. 2008). To fall within the

category of consensual questioning, the Tyler court explains a reasonable person -- facing the

same circumstances as the individual being questioned -- would need to feel free to leave, as

opposed to feeling obliged to stay put. Id. at 410-11. If the individual believes he is free

to leave -- even if he refuses to answer any questions -- he has not been seized under the

Fourth Amendment and the officer needs no suspicion to initiate such an encounter. United

States v. Burton, 441 F.3d 509, 511 (7th Cir. 2006).

       As the Seventh Circuit has explained,

       Even though approaching a person on the street (or at work, or on a bus) to
       ask him a question causes him to stop for at least the time needed to hear the
       question and answer (or refuse to answer), the curtailment of the bystander’s
       mobility, privacy, and peace of mind is so slight that neither probable cause
       nor reasonable suspicion is required to justify the police action. No suspicion
       at all is required in such a case[.]

Id. (Internal quotation omitted.)

       Bohman and Barttelt argue the stop here was not consensual. Barttelt argues that the

analysis in Tyler simply does not apply because vehicle stops are more intrusive than stops

of pedestrians. This point is well taken. See, e.g., United States v. Brewer, 561 F.3d 676, 678

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(7th Cir. 2009) (“It is unexceptional for a police officer to approach a bystander on the

street and ask him whether he knows anything about some matter that the officer is

investigating. . . . The issue is more complicated when the officer wants to stop a car to ask

the driver or passengers something. Such a stop is a greater intrusion on freedom of

movement and peace of mind . . . .”). There is, however, no hard and fast rule limiting a

police officer’s freedom to seek voluntary cooperation of a citizen just because the citizen is

a motorist at the time of the encounter. See, e.g., Illinois v. Lidsterk, 540 U.S. 419, 425-27

(2004) (use of highway checkpoint to briefly stop motorists to ask for information about a

recent fatal hit-and-run not presumptively invalid under Fourth Amendment). Determining

whether the encounter between citizen and officer is consensual or voluntary requires a

factual inquiry into the specific circumstances of the case. United States v. Nobles, 69 F.3d

172, 180 (7th Cir. 1995) (citation omitted).

       Bohman argues that the stop was not a mere consensual questioning because the

officers’ car blocked his vehicle’s progress so that he and Barttelt were not free to leave. In

fact, not only was the officers’ car brought to within ten-feet of their car, facing head-on and

impeding the progress of defendants’ vehicle, but it had its red and blue emergency lights on,

causing defendants to stop their vehicle. These facts contrast sharply from those in United

States v. Hendricks, 319 F.3d 993, 1001 (7th Cir. 2003), where the court found that an

officer who parked his patrol car fifteen feet behind an individual’s car had engaged in a

consensual encounter, rather than a seizure, because the officer did not signal the car to pull

over, block the car’s exit or activate his emergency lights.



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       Certainly the manner in which Barttelt and Bohman were pulled over support the

conclusion that the initial encounter was not consensual, particularly when you consider that

the officers appeared out of nowhere late at night in a remote area. As Judge Crocker notes,

however, other facts weigh in favor of the opposite conclusion. For example, the officers did

not brandish their weapons, use a forcible tone or language, use actual physical force on

defendants, or tell defendants that they were being investigated for a crime upon the initial

stop. Cf. United States v. Packer, 15 F.3d 654, 657 (7th Cir. 1994) (officers engaged in a

seizure when their vehicles were parked in front and behind defendant’s car, they shined a

“take down” light into defendant’s windows and upon approaching the car with a flashlight,

an officer asked occupants to put their hands in the air where she could see them). Instead,

after defendants had stopped their car, the officers here walked up to defendants’ vehicle,

asked them to step out of the car and then proceeded to ask merely what they were doing

in the area.

       If the officers had used their emergency lights as they drove up to two men walking

out of a country driveway at night and merely asked the men who they were and what they

were doing, a reasonable person in similar circumstances might have felt free to leave without

answering any questions. The fact that by simply placing the men in a vehicle the encounter

would be elevated to a “seizure” raises a legitimate concern about whether the encounter should

be considered a seizure.

       Nevertheless, the court finds that a reasonable person would at least questioned if he

was free to terminate the conversation with the officers and drive away under the



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circumstances here.

       Assuming the stop was a seizure, the question becomes whether there was a sufficient

degree of confidence in the officers’ suspicions to make the seizure reasonable. To justify

an investigative stop, also referred to as a Terry stop, an officer must be aware of specific and

articulable facts giving rise to a reasonable suspicion that a crime is about to be or has been

committed. United States v. Wimbush, 337 F.3d 947, 949 (7th Cir. 2003). Whether the

officers here had reasonable suspicion to stop the car is another close call. The officers

certainly had more than a hunch. Hendricks, 319 F.3d at 1001 (mere hunch insufficient to

justify a stop). At the time the officers stopped the car, their suspicions were predominately

based on information obtained from Olmsted. When a single informant provides the tip

that leads to the stop, the adequacy of the tip depends on the amount of information given,

as well as the degree of reliability and the extent to which the officers can corroborate the

information. United States v. Booker, 579 F.3d 835, 838 (7th Cir. 2009). In this case,

Olmsted’s tip was sufficiently reliable and corroborated to create a reasonable suspicion that

there was or recently had been a meth lab on the property.

       Olmsted provided a handful of details, several of which were corroborated. For

example, he identified in a plat book the property where he had seen, on several occasions,

the cooking of methamphetamines by Barttelt and, more recently, a tank of anhydrous

ammonia. He said the property was owned by “Big Tony” and the property he identified

was in fact owned by a Tony Thorenson. Further, he described the property as having a

driveway blocked by a cable, with the driveway leading to a cabin and when Kingsley arrived



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at the property he saw just such a driveway, cable and the lights of a cabin.

       Then, too, Olmsted had been stopped and found with drug paraphernalia, including

an anhydrous tank and hose, so he was certainly motivated to provide information that

would help the police in order to reduce the charges he would face. While defendant Barttelt

disagrees, there were strong disincentives to Olmsted in providing false information; wasting

police time by sending them after a non-existent meth lab would only worsen Olmsted’s

already very tough situation. Even assuming, as Barttelt argues, Olmsted was merely rolling

the dice, it was a bet made with the knowledge that in the recent past Big Tony’s property

was being used as a meth lab; otherwise, there would be no incentive at all to send the police

to the property. In other words, Olmsted had to at least believe that there was a chance that

the cabin was still being used to cook meth, because he had been arrested and was looking

to help his captors. Accordingly, his tip carried an additional degree of reliability.

       Finally, Lieutenant Schneck vouched for Olmsted’s reliability based on past

experience, the strength of which is evidenced by asking Kingsley to drive to another county

to hear what Olmsted had to say. If Olmsted turned out to be lying, Schneck would be

embarrassed for sending Sergeant Kingsley, with whom he worked in coordinated

investigations on an ongoing basis, on a wild goose chase. For Kingsley, Schneck’s past

reliance on Olmsted was sufficient. Although more specifics about why Schneck found

Olmsted to be a reliable informant -- such as the number of times Olmsted had previously

provided information to Schneck and the results of that information -- would have provided

further support for Olmsted’s reliability, the absence of such specifics does not lessen



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Olmsted’s reliability, or at least Kingsley’s reliance on Scheck’s judgment.

       Based on the information provided by Olmsted -- particularly that he had seen the

anhydrous tank in the past week or so and had witnessed meth being cooked there before --

along with Kingsley’s own experience concerning methamphetamine labs, Kingsley had

specific facts to form a reasonable suspicion that there was a meth lab in the cabin.4

       The question remains whether Kingsley’s reasonable suspicion that there was a meth

lab in the cabin provided him with a reasonable suspicion to stop defendants’ car as it exited

the drive leading to the cabin. This is a closer call. Stopping any person who is merely

leaving a house where the police suspect illegal drug activity to be occurring would not alone

justify a Terry stop and a frisk. See, e.g., United States v. Johnson, 170 F.3d 708, 718 (7th Cir.

1999) (“Without reasonable suspicion, [police] cannot detain a person just because that

individual walks out of an apartment on New Year’s Eve, even if some unspecified individual

(whose reliability is utterly untested) thinks something fishy is sometimes going on there.”).

       But the police acted on more in stopping the car containing the defendants. First, as

explained already, the tip Kingsley had about the meth lab was not from some unspecified




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         Defendant Barttelt objects to the Magistrate Judge’s use of “intangibles,” such as
Kingsley’s experience, in concluding that the investigatory stop was based on a reasonable
suspicion. But the Seventh Circuit has explained that a determination of reasonable suspicion
should be based on an examination of the totality of circumstances, which includes “the
experience of the officer.” United States v. Fiasche, 520 F.3d 694, 697 (7th Cir. 2008) (internal
quotation omitted). Considering Kingsley’s experience is, therefore, proper. Moreover, Judge
Crocker did not refer to “intangibles” in deciding whether the stop of defendants while driving
the Beretta was made under a reasonable suspicion. The reference was used in determining
whether there was a reasonable suspicion to believe that Big Tony’s property was being used to
cook methamphetamine.

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individual whose reliability was untested. Second, while the car leaving the property did not

match the description of the car that Olmsted had said Barttelt was driving, a reasonable

officer would suspect that any car leaving the property might contain the person Olmsted

had identified as cooking meth at the cabin. It being night, it was impossible to tell who was

in the car without stopping it, and even if the officers could see into the car without stopping

it, they had only been given a name, not a description.

       Third, the officers had seen some suspicious behavior when a car immediately drove

to the cable after Kingsley’s inadvertent horn honk, and then quickly returned to the cabin

only to come back down the drive and exit the property several minutes later. A reasonable

officer would find that the car’s actions raised further suspicion that someone at the cabin

had been a lookout stationed to prevent intrusion on the meth lab likely located in the cabin.

       Finally, unlike the Johnson decision, no arrest or pat down of the defendants occurred

until after the officers clearly had reasonable suspicion supported by articulable facts,

including the smell of anhydrous ammonia, Olmsted’s corroborated tip and knowledge of

Bohman’s previous involvement with a meth lab. The totality of these circumstances

provided the officers some minimal level of suspicion.

       The Seventh Circuit advises that officers’ “seizure” of a car based on less than

reasonable suspicion may still be lawful provided the level of suspicion was enough to justify

the level of intrusion created by the seizure. See Burton, 441 F.3d at 512 (quoting United




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States v. Chaidez, 991 F.2d 1193, 1197-98 (7th Cir. 1990)).5 In Burton, 441 F.3d at 510,

three police officers on bicycles were watching a house which an informant had identified

as a drug house. A car stopped in the street near the alleged drug house and a man, Johnson,

exited an adjacent house, ran to the car and leaned in the driver window, all while the car

was still running. Id. The officers approached the car on their bikes, with one officer

positioning himself in front of the car and the other two officers stationing themselves on

opposite sides of the car. Id. The officers questioned Johnson, as well as the driver, about

what was happening. Id. Based on some shaky answers and suspicious actions, the officers

then patted down both men discovering a knife on Johnson and a gun on the driver, who was

later charged for being a felon in possession of a gun. Id. at 510-11. The driver sought to

have the evidence of his possession of the gun suppressed, contending that the gun had been

obtained after an unjustified seizure in violation of his Fourth Amendment rights. Id. at

510.

       The Seventh Circuit determined that the officers had indeed “seized” the car by

surrounding it on their bikes. Id. at 511. The appellate court further noted that the seizure

or stop was done “on the basis merely of the drug-house tip, Johnson’s emergence from the



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            While all three circuit court judges on the panel deciding Burton held that the
officers’ temporary seizure of the car did not violate the driver’s Fourth Amendment rights,
Judge Rovner wrote a separate concurrence because she disagreed with the majority’s
discussion of minimal stop and minimal suspicion. 441 F.3d at 513. Specifically, Judge
Rovner explained that in affirming the district court’s finding of no Fourth Amendment
violation based on the fact that the man standing in the street had violated Wisconsin law
by impeding traffic, she “would say no more about whether seizures that are unsupported
by either probable cause or reasonable suspicion may nonetheless be sustained as reasonable
based on their brevity and minimal degree of intrusiveness.” Id.

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adjacent house, and the position he assumed in the street.”         Id. at 512.   While such

information would not have been sufficient suspicion to support ordering the driver out of

his car so that he could be frisked, the court held that this was of “[n]o matter” because such

“mounting suspicion of illegal activity” was sufficient to satisfy the Fourth Amendment’s

reasonableness requirement. Id. More specifically, the court held: “That was a minimal

stop, requiring only minimal suspicion; and that the police had.” Id. at 513.

       Whether the officers’ initial stop of defendants’ car here was supported by a

reasonable suspicion that the occupants had committed a crime is a debatable point. The

initial stop to ask questions of the occupants, which involved a minimal intrusion, was at

least supported by minimal suspicion. In other words, all the reasons given for why the

officers’ suspicion about a car coming down the private drive from a cabin in which a meth

lab is likely operating at least moves the stop of the car beyond a hunch to at least minimal

suspicion. The stop would obviously be more suspect had it occurred as soon as the officers

arrived at the property, before they were able to corroborate the remainder of the

information given by Olmsted and before witnessing the sudden, suspicious actions of a car

coming from and returning to the cabin under surveillance. Those circumstances would

more closely resemble an unconstitutional stop and pat down where someone was merely

leaving a suspected drug house. See, e.g., Johnson, 170 F.3d at 711 (officers had a second

hand tip that drug activity was being conducted in an apartment and upon approaching the

apartment to conduct a “knock and talk” an individual exited the apartment and the officers

stopped and frisked the individual for no other reason than his leaving the apartment).



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        Even assuming that the officers’ actions in stopping the car did constitute an

unreasonable search and seizure under the Fourth Amendment, that conclusion does not

necessarily require suppression of evidence obtained after the search or seizure. Herring v.

United States,     U.S.     , 129 S. Ct. 695, 702 (2009). As the Supreme Court explained,

“To trigger the exclusionary rule, police conduct must be sufficiently deliberate that

exclusion can meaningfully deter it, and sufficiently culpable that such deterrence is worth

the price paid by the justice system.” Id. at 702.

        In the end, the closeness of the determinations about whether the encounter was

consensual or a seizure, and even more whether the officers had a reasonable suspicion for

a stop, compels the conclusion that any error in judgment by officers Kingsley and

VanderWyst in stopping the vehicle under these circumstances amounted to no more than

negligence, having been made in a good faith attempt to pursue their investigation in a

lawful matter. See id.(“An error that arises from nonrecurring and attenuated negligence is

thus far removed from the core concerns that led us to adopt the [exclusionary] rule in the

first place.”).

        This is not, therefore, the type of flagrant conduct that triggers the exclusionary rule.

See, e.g., Mapp v. Ohio, 367 U.S. 643, 644-45 (1961) (exclusion of evidence warranted when

officers forced open door, prevented individual’s lawyer from entering, brandished a false

warrant, put the individual in hand-cuffs and searched the house). Accordingly, the court

will adopt the Magistrate Judge’s report and recommendation as modified herein and deny

Barttelt’s and Bohman’s motions to suppress evidence derived from the August 18, 2009



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stop.

                                        ORDER

        IT IS ORDERED that:

              (1)    The Magistrate Judge’s recommendation is ADOPTED
                     as modified herein.

              (2)    The motions to suppress evidence of Daniel L. Bohman
                     and Jake Barttelt are DENIED.

              (3)    The court consents to defendants ability to appeal this order in
                     accordance with the July 23, 2010 plea agreement.

        Entered this 23rd day of August, 2010.

                                        BY THE COURT:

                                        /s/
                                        __________________________________
                                        WILLIAM M. CONLEY
                                        District Judge




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